                                            Case 3:25-cv-01780-WHA                                         Document 116              Filed 03/13/25                   Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                                                                                                                     C OU R T U S E ON L Y
 NORTHERN DISTRICT OF CALIFORNIA                                                                                                             .
                 CAND 435
             (CAND Rev. 08/2018)                                                                  Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                  3. CONTACT EMAIL ADDRESS
Danielle Leonard                                                                 (415) 421-7151                                                             dleonard@altber.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                 3. ATTORNEY EMAIL ADDRESS
                                                                                 (415) 421-7151                                                              dleonard@altber.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                              6. CASE NUMBER
Altshuler Berzon LLP
177 Post St. Suite 300                                                                                        AFGE et al v. OPM et al                                                                   3:25-cv-01780
San Francisco, CA, 94108
                                                                                                             8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND                                         ❐ FTR              ❐ APPEAL           ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)
Kendra Steppler                                                                                              ❐ NON-APPEAL       ❐ CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                            b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                               c.        DELIVERY TYPE ( Choose one per line)
                                                                                                     with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                     PORTION                         PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,      (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)    specify portion (e.g. witness or time)

                                                full
03/13/2025          WHA               PI                                                                                                                                                                              
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                                12. DATE
11. SIGNATURE
                 /s/ Danielle Leonard                                                                                                                                               03/13/2025


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